   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                               UNITED STATES BANKRUPTCY COURT

   7                                         DISTRICT OF ARIZONA

   8
        In re                                                Chapter 13
   9
        NORMAN L. RACHELS,                                   Case No. 2-19-bk-11759-DPC
  10
        and                                                  TRUSTEE’S RECOMMENDATION
  11
  12    LEA ANN RACHELS,                                     Deadline is January 17, 2020

  13                                             Debtors.
  14
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs. Subject
  15
       to the resolution of the following issues, the Plan will meet Code requirements and the Trustee will
  16
       recommend confirmation:
  17
  18            1. The secured debt to be paid to CarMax (claim 1) is to be reduced to $16,676.59 as stated

  19   in the creditor’s proof of claim, to be paid at the rate of 6.00% interest as stated in the Plan.
  20            2. The secured debt to be paid to Global Lending (claim 7) is to be reduced to $17,389.11
  21
       as stated in the creditor’s proof of claim, to be paid at the rate of 6.00% interest as stated in the Plan.
  22
                3. The priority claims filed by the IRS (claim 5) and the North Carolina Department of
  23
       Revenue (claim 16) are higher than the amount proposed in the Plan. Unless the Debtor objects to
  24
  25   the higher amount included in the IRS priority claim, the Stipulated Order Confirming Plan should

  26   propose payment in accordance with the IRS priority proof of claim.
  27
  28


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   1          4. SOFA #16 fails to disclose the correct Attorney Fee paid prior to filing. Per the Plan and
   2
       the Attorney disclosure, the fee paid was $49.00. The SOFA shall be amended to reflect the correct
   3
       fee.
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              5. Schedule J shows Net Monthly Income of $800.00. The proposed plan payment of
   5
   6   $1,087.00 starting in month 25 does not appear to be feasible. The Trustee requires the Debtors to

   7   provide a written explanation and supporting documentation demonstrating Plan feasibility prior to

   8   the Trustee recommending confirmation.
   9
              6. The Debtors have claimed their adult son as a dependent on Schedule J. The Trustee
  10
       requires the Debtors to provide a written statement verifying their son’s financial contributions to
  11
       the household.
  12
  13          7. Based on the Debtors’ testimony at the Meeting of Creditors, Schedule I & J shall be

  14   amended to remove the $99.67 Domestic Support Obligation and Plan payments shall be adjusted

  15   accordingly.
  16
              8. The Plan fails to provide for the leases listed on Schedule G. The proposed Stipulated
  17
       Order Confirming Plan must rectify this issue. If the Debtors seek to reject any of the leases, they
  18
       must either obtain the signature of the creditor on the Stipulated Order Confirming Plan or file an
  19
  20   amended Plan.

  21          9. The Stipulated Order Confirming Plan must state the correct plan payment start date of
  22   October 15, 2019.
  23
              10. The Debtors’ Plan as proposed is underfunded. Once the above issues are resolved, the
  24
       Trustee will review the Plan funding issue. Additional Plan yield may be required in order to satisfy
  25
       the secured and priority claims.
  26
  27          11. PLAN PAYMENT STATUS: The Debtors must cure the delinquency of $1,200.00

  28   no later than January 17, 2020


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   1          12. OTHER REQUIREMENTS:
   2
                      (a) Due to the possibility of errors on the claims docket, it is the attorney’s
   3
       responsibility to review all proofs of claim filed with the Court and resolve any discrepancies
   4
       between relevant claims and the Plan prior to submitting any proposed Order Confirming Plan to
   5
   6   the Trustee. Also, when counsel provides a proposed order confirming plan to the Trustee, counsel

   7   must file or create a notice on the Court docket. L.R.B.P. 2084-13(b).

   8                  (b) Requests by the Trustee for documents and information are not superseded by the
   9
       filing of an amended plan or motion for moratorium.
  10
                      (c) The Trustee will object to any reduction in the Plan duration or payout in a
  11
       proposed Order Confirming Plan unless an amended or modified plan is filed and noticed out.
  12
  13                  (d) The Trustee requires that any proposed Order Confirming Plan state: “The Plan

  14   and this Order shall not constitute an informal proof of claim for any creditor.”

  15                  (e) To expedite the order review process, counsel must use the recommended form
  16
       for the order confirming plan found at www.chapter13.info.
  17
                      (f) The order confirming plan must be accompanied by a cover letter that goes over
  18
       the Trustee’s Recommendation items by each paragraph. If counsel fails to use the order form and
  19
  20   provide such letter, the Trustee will reject the proposed order outright and the time to comply with

  21   the Recommendation is not extended.
  22                  (g) Any order confirming plan to provide that the Debtors will give the Trustee a
  23
       copy of the 2019 - 2023 federal and state income tax returns, including all attachments, forms,
  24
       schedules and statements, within 14 days of filing them.
  25
                      (h) Nothing in the Plan or Order Confirming Plan is to alter counsel’s obligation to
  26
  27   represent the Debtors. Counsel is to represent the Debtor(s) in all matters regardless of the fee

  28   agreement until the Court issues an order permitting counsel to withdraw or the case is closed.


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   1                  (i) According to Paragraph II.H.3. of the “Administrative Procedures for
   2
       Electronically Filed Cases,” as governed by Local Rule 5005-2(e), the Debtors’ attorney is to retain
   3
       the original signatures of all signatories to the Stipulated Order Confirming Plan (other than that of
   4
       the Trustee). Pursuant to Local Rule 2084-13(c), the Trustee will upload the proposed Order
   5
   6   Confirming a plan or granting a motion for a moratorium.

   7                  (j) The proposed order confirming plan, any responses to this recommendation, and

   8   documents submitted in response to this recommendation are to be submitted to the applicable case
   9
       administrator in the Trustee’s office.
  10
              SUMMARY: Pursuant to Local Rule 2084-10(b), by January 17, 2020, Debtors are to
  11
       resolve all of the above issues and provide the Trustee with a proposed order confirming plan that
  12
  13   meets the above requirements, or the Debtor must file an objection to the Recommendation and

  14   obtain a hearing date. If neither is accomplished, then the Trustee could file a notice of intent to

  15   lodge a dismissal order.
  16                                                                              Russell Brown
                                                                                  2019.12.13
  17
       Copy mailed or emailed to:                                                 12:08:02 -07'00'
  18   NORMAN L. RACHELS
  19   LEA ANN RACHELS
       4315 EAST THUNDERBIRD ROAD
  20
       APT 124
  21   PHOENIX, AZ 85032
  22   PHOENIX FRESH START
  23   THOMAS ADAMS MCAVITY
       4602 E. THOMAS RD., SUITE S-9
  24   PHOENIX, AZ 85028-
       TOM@NWRELIEF.COM
  25
                       Digitally signed
                       by Debra Toner
  26
                       Date:
                       2019.12.16
  27                   09:51:30 -07'00'
       _________________________________
  28   dtoner@ch13bk.com


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